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APPENDIX 8
Slate of Califorftase 2:90-cv-00520-KJM-SCR Document 3042-5 _ FiRepatioenbabSorreptignssand Resablitation

Memorandum
Dates July 22,2008

To. + Wardens:
Health Care: Managers
Institution Appeals C ors
Health Care Appeals Coordinators:

Subject!

ite appeal ‘process: is to provide yesdlution -of-
ney manner and athe lowes possible level.

biltation's MODGR) |
eeand d operation of re DCI

TAB has. been unable to-obtain
jetoere | to Director's Level

appeals which has been
Effective August 1, 20¢ 8, 4 for:
all health care related copeals. Th 5 at inehide. | receipt; “tracking, resboties to
and reporting on all health care appeals.

Following is a déscription of the changés tothe ‘current inmate appeals’process:

A new health care: appeal form: has been approved anc
availablé to all ismates-patients, This néw°form sa ‘CDCR Form ¢ ‘GO2HC
(attached): ‘and is pink'in: olor:

*. eae relatos August 1, 200%
care. relates

be retumed to.
appeal will: 4): 4 i ir tha:
appeal document; ‘and 3) “fonward the copy to the ” appropriate ‘Appeals
Coordinator:

“GDC 1617 (3288)
Case 2:90-cv-00520-KJM-SCR Document 3042-5 Filed 09/16/08 Page 3 of 6

Wardens

Health Care Managers

Institution Appeals Coordinators
Health Caré Appeals Coordinators
Page:2

« All appeals regarding. health care issues. shall be subritted directly to the
Health Care. Appeals Office at each institution for tracking and response.

st bo subtriitted to. the Institation Appeals Office-using
1 racking-and response. The medical verification (CDC
Fame 4848) w willbe tracked and completed by health care staff.

* Appeals submitted as Citizen's Complainis/Staff Complaints will continue, to
6 processec throtg me lnstitition. Appeals Coord & regardlass of the

All Directors" Level Appeals regarding health care issues'shall be submitted to:

Office of Third Ae Health Care

Health care related appeals that were. submitted prior fo August 1, 2008,. will
continu ‘processed existing procedures. The: inmate shall hot. be:
directed to re-submit the issue-using’a GDC Form 602-HC.

will be oe and ‘de

The ‘inriate-patient.
patients: by Health Car
screening encounter, ‘Tt
for the: alstisutior

rity Housing Units),
> ecaorane ‘that copies of the = me

ar be pre to: tt
may: ‘assist in notifying the inmate population.

Thank: you I in advance for your: cooperation and compliance. ‘Should you require:
al egarding the new health care appea | GREK: Pigs 8e:
pence Director, Plata | C

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Watdens

Health Care Managers

Institution: Appeals Coordinators:
Héalth- Care Appeals Coordinators:
‘Page's

“app eals process; please contact Nola Grarinis, Chief, Inmate: Appeals Branch, at

Lary SUZAN L. HUBBARD
Director

‘Division of Adult Institutions upport Division

Attachment

Regi Medical Directors
Associate: restored ean of: ‘Adult Institutions:

Care Appeals. Coordinators,
ineriate. Appeals Coordinators

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‘STATE-OF CALIFORNIA, DEPARTMENT OF COH NUD REHABILITATION
OLEE HEALTH CARE: PRISON HEALTH CARE SERVICES

08) ‘SHet
‘Location: dnstitition/Parole Region: = Lag: ‘Category:
1 " . A net : 4.

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ki Dédciihe'prabieiis..

; AgNen Requested’ Lie

Inmate/Parojee: stonature: — ———___— Date Submitted:

"G) INFORMAL LEVEL (Date Received __—)
Stat Responses.

Stal Signatures, ik sate crimes Date Retumed to. Innate:

“yr FORMAL LEVEL.
-Iryou ate ieee ea, exp be

leg Request Form; CDG °

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Case 2:90-cv-00520-KJM-SCR Document 3042-5

AK
LEB HEALTHCARE

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DEPARTMENT. G? CORRECTIONS AND REHABILITA
-PRISON HEALTH CARE SE

Side?

FIRSTLEVER? Ciarented OP Granted  (Qenied C1 Oiner,

‘Due Date’.

‘REVIEWER'S ACTION (Gompléie with 16 working days); Date assigned:

Infervlewed by::..

et

-Statt Signature: _. Tittes,

 Datét_

Division Head Approval:
Staff Signature:

Titles,

_. Date Returndd toInmate:... s_.

iseatitlad, expla TeARoi fot reduostinig'a Second-Level Review, and aut
days of racsipt of response!

ot Rroneselig to the Healtty Gare-Apneaie. coordinator at your location *

‘Signatures, ___

_ Date-Subritted:

SECOND LEVEL: ClGiintsy  Clercianter  foenea Choter

‘Due Date:__ = Sic

ay THOS.

Date Submitted:.

Date Returned to'lnmate:

iggatiatied; add dale or ransane far requesting a Director's Level’ Haview, and submit by mail to the'third tavel within 15 dayé-of recelpt ot responce...

‘Slgnabave:

‘Forthe Director's Review of Health Care leaves, cubital doauments 10;

“DIREGTOR'S'ACTION C].Granted  CIP.Gtanied © Denied

(Cy) See Attactiod Letter

Date:

